
209 S.E.2d 315 (1974)
286 N.C. 214
FIRST CITIZENS BANK &amp; TRUST COMPANY
v.
Dr. John D. LARSON et al.
Supreme Court of North Carolina.
November 8, 1974.
Cameron, Harrington &amp; Shaw, for defendant Larson.
McCoy, Weaver, Wiggins, Cleveland &amp; Raper, for defendant Powell.
Anderson, Nimocks &amp; Barefoot, for Trust Company.
Petition for writ of certiorari by defendants, Larson and Powell, to review the decision of the Court of Appeals, 22 N.C.App. 371, 206 S.E.2d 775. Denied.
